 Case 2:17-cv-00024-JRG Document 9 Filed 03/17/17 Page 1 of 2 PageID #: 104



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC                        §
                                                  §
       Plaintiff,                                 §           CIVIL ACTION NO.
                                                  §            2:17-cv-00024-JRG
                                                  §
       v.                                         §      JURY TRIAL DEMANDED
                                                  §
HARMAN INTERNATIONAL                              §
INDUSTRIES, INCORPORATED                          §
D/B/A JBL                                         §
                                                  §
       Defendant.                                 §

               MOTION TO DISMISS VOLUNTARILY WITH PREJUDICE

       Plaintiff Symbology Innovations, LLC (“Symbology”) pursuant to Fed. R. Civ. P. 41 (a),

hereby move for an order dismissing all claims by Symbology against Defendant Harman

International Industries, Incorporated d/b/a JBL, in this action WITH PREJUDICE, with each

party to bear its own costs, expenses and attorney’s fees.

Dated: March 17, 2017                                        Ferraiuoli LLC
                                                             /s/Eugenio J. Torres-Oyola
                                                             Eugenio J. Torres-Oyola
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                                                              Attorney(s) for Plaintiff
                                                             Symbology Innovations, LLC
 Case 2:17-cv-00024-JRG Document 9 Filed 03/17/17 Page 2 of 2 PageID #: 105




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on February 17, 2017, to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).

                                                          /s/Eugenio J. Torres-Oyola
                                                          Eugenio J. Torres-Oyola
